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                                                            DIRECT DIAL      212.763.0883
                                                            DIRECT EMAIL     rkaplan@kaplanhecker.com



                                                                          November 22, 2022
VIA ECF


The Honorable Lorna G. Schofield              The Honorable Sarah L. Cave
United States District Judge                  United States Magistrate Judge
Southern District of New York                 Southern District of New York
40 Foley Square                               Daniel Patrick Moynihan United States Courthouse
New York, New York 10007                      500 Pearl Street
                                              New York, New York 10007

                       Re:     Catherine McKoy, et al. v. The Trump Corporation, et al., 18-cv-
                               9936 (LGS-SLC)

Dear Judges Schofield and Cave:

         To follow up on our letter of yesterday concerning setting a trial date and a briefing
schedule for summary judgment motions, ECF 499, we write to bring to the Court’s attention an
order entered earlier today in People of the State of New York v. Donald J. Trump et al., No.
452564/2022 (Sup. Ct. N.Y. Cnty.). In that case, which involves all four of the Individual
Defendants here, the New York Attorney General (“NYAG”) had similarly sought an order setting
a trial date. Following a conference held today, the court in that case set a trial date for October 2,
2023. Preliminary Conference Order, Trump et al., No. 452564/2022, NYSCEF No. 228 (copy
attached).

       This development only underscores the importance of setting a trial date in this case, which
was filed nearly four years before the NYAG’s case, in order to provide certainty around the
schedule and to avoid disruption and delay. Balancing the considerations set forth in our letter of
yesterday’s date, we believe that a trial date either in August-September or November-December
2023 would be appropriate under the circumstances.


                                                                          Respectfully submitted,



                                                                          Roberta A. Kaplan
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